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                                                    January 10, 2024


  Via ECF

  Honorable Claire C. Cecchi
  United States District Judge
  United States District Court                                                                                        ALBANY
   for the District of New Jersey                                                                                     AMSTERDAM
  Martin Luther King Courthouse                                                                                       ATLANTA

  50 Walnut Street                                                                                                    AUSTIN

  Newark, New Jersey 07102                                                                                            BOSTON
                                                                                                                      CHICAGO

            Re:       Juice Entertainment, LLC, et al. v. Live Nation Entertainment,                                  DALLAS

                      Inc., Civil Action No. 11-CIV-7318 (WHW) (CLW)                                                  DELAWARE
                                                                                                                      DENVER
                                                                                                                      FORT LAUDERDALE
                                                                                                                      HOUSTON
  Dear Judge Cecchi:
                                                                                                                      LAS VEGAS
                                                                                                                      LONDON*
  On behalf of Defendant Live Nation Entertainment, Inc. (“Live Nation”), we are writing                              LOS ANGELES
  to respectfully request a modest one-week adjournment of the current deadline for the filing                        MEXICO CITY+
  of in limine motions. The current deadline is January 11; we request that the deadline be                           MIAMI
  adjourned to January 18.                                                                                            MILAN**
                                                                                                                      NEW JERSEY
  On December 19, we had a conference with the Court following which Your Honor ordered                               NEW YORK
  the parties to engage in a final attempt at mediation and we are in the process of scheduling                       ORANGE COUNTY
  that mediation with Ms. Goski. As explained during our call on the 19th, we believed the                            ORLANDO

  filing of in limine motions would not promote settlement and we believe Your Honor                                  PALM BEACH

  expressed receptiveness to a relaxation of the impending January 11 deadline to                                     COUNTY

  accommodate the mediation. In an abundance of caution, we did not want to let the                                   PHILADELPHIA

  deadline pass without the issue being addressed, as we do intend to file such a motion in                           PHOENIX

  the event the mediation does not result in a settlement. Therefore, we respectfully request                         ROME**
                                                                                                                      SACRAMENTO
  that the deadline for in limine motions be extended to January 18.
                                                                                                                      SAN FRANCISCO
                                                                                                                      SHANGHAI
                                                               Repectfully submitted,                                 SILICON VALLEY

                                                               GREENBERG TRAURIG, LLP                                 TALLAHASSEE
                                                                                                                      TAMPA

                                                               /s/ Ian S. Marx                                        TEL AVIV^
                                                                                                                      TYSONS CORNER
                                                               IAN S. MARX                                            WARSAW~
  ISM/dad                                                                                                             WASHINGTON, D.C.
  cc: All Counsel via ECF                                                                                             WHITE PLAINS
                                                                                                                      * OPERATES AS GREENBERG
                                                                                                                        TRAURIG MAHER LLP
                                                                                                                      +
                                                                                                                           OPERATES AS GREENBERG
                                                                                                                           TRAURIG, S.C.
                                                                                                                      ^A BRANCH OF
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  ACTIVE 685629116v5                                                                                                  ~
                                                                                                                           OPERATES AS GREENBERG
                                                                                                                           TRAURIG GRZESIAK sp.k.
                                                                                                                      **
                                                                                                                           STRATEGIC ALLIANCE
